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                  Exhibit 2
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From: "Amidon, Eric" <                         >
Date: March 10, 2025 at 12:28:29 AM EDT
To: "Byrnes, John Thomas" <john.byrnes@kirkland.com>, "Corlett, Thomas"
<                           >, "Payne, James (Jim)" <                  >, "McIntosh, Chad"
<                         >,                               ,                               ,
                           , "Brown, Reg" <reginald.brown@kirkland.com>, "Dresner, Jeremy"
<jeremy.dresner@kirkland.com>
Subject: RE: Confidential: Account Control Agreements under Greenhouse Gas Reduction Fund




  This message is from an EXTERNAL SENDER
  Be cautious, particularly with links and attachments.


Dear Mr. Brown,

As you know, and consistent with the Agency’s letter of March 8, 2025, the U.S.
Environmental Protection Agency (EPA) is working to review and develop additional
account controls to address concerns regarding potential fraud and/or conflicts of interest
related to the Greenhouse Gas Reduction Fund (GGRF), including based on incoming
responses to oversight questions EPA issued to grant recipients on March 4, 2025. The
GGRF is also the subject of an ongoing criminal investigation by the U.S. Department of
Justice and an investigation by the EPA Office of Inspector General (OIG). Until those
additional account controls are developed and implemented in collaboration with
Citibank or any future financial agent (the Bank), and given the ongoing investigations
into the GGRF, it is critical that the Bank not resume processing payment instructions for
the GGRF accounts.

In its communication to the Bank this week, the U.S. Department of the Treasury
(Treasury) directed the Bank to cooperate with EPA on account controls. To prevent the
misuse of funds in the interim, EPA instructs the Bank, pursuant to this Treasury
directive, the grant agreements, and Section I.B of Exhibit A to the Financial Agency
Agreement (FAA) between the Bank and Treasury dated September 19, 2024, to pause
the processing of payment instructions for the GGRF accounts until further notice. This
interim account control will be rescinded as soon as reasonably practicable once EPA
completes its review and implements additional account controls through additional
instructions as necessary.

EPA’s instruction here does not supplant, conflict with, or supersede any instructions the
Bank has or may receive from Treasury, and EPA will continue to work with the Bank to
address the implementation of account controls.

Sincerely,
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Eric Amidon
Chief of Staff
US EPA

cc:
• Citibank, N.A.
• Chad McIntosh, Acting Deputy Administrator, US EPA
• Jim Payne, Acting General Counsel, US EPA
• Chris Pilkerton, Acting General Counsel, US Department of the Treasury
• Eric Froman, Assistant General Counsel (Banking & Finance), US Department of the
Treasury
• US Department of Justice


Eric Amidon
Chief of Staff
Environmental Protection Agency

From: Byrnes, John Thomas <john.byrnes@kirkland.com>
Sent: Sunday, March 9, 2025 8:06 PM
To: Zeldin, Lee <                  >; Corlett, Thomas <                                                    >; Payne, James (Jim)
<                      >; Amidon, Eric <                                           >; McIntosh, Chad
<                        >;                                                    ;                                                ;

Cc: Brown, Reg <reginald.brown@kirkland.com>; Dresner, Jeremy <jeremy.dresner@kirkland.com>
Subject: Confidential: Account Control Agreements under Greenhouse Gas Reduction Fund

    Caution: This email originated from outside EPA, please exercise additional caution
    when deciding whether to open attachments or click on provided links.

Please see attached on behalf of Citibank, N.A.


John Byrnes
------------------------------------------------------------
KIRKLAND & ELLIS LLP
1301 Pennsylvania Avenue, N.W., Washington, D.C. 20004
T +1 202 389 3029 M +1 202 227 6678
F +1 202 389 5200
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john.byrnes@kirkland.com



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